Case 9:20-cv-80604-RKA Document 6 Entered on FLSD Docket 05/22/2020 Page 1 of 6

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, $.D. Florida J iden Boy Bytiman 7
Federal Court

299 East Broward Blvd.
Fort Lauderdale, FI. 33301

   

   
 

MAY 21 2020

ANGELA E. NOBLE
GLERK U.S. DIST.
Amicus Three and Open Letter to Xi Jinpnig, General Secretary of the Comntwnist-Bartyeenchin

 

Statement of Fact: Mathematically Mankind will cease to exist in the next three to twenty years.

The truth about “The Katrina Virus” must come out if we. are to survive. We must work together if we.
are to save Mankind. This work must be uncensored and free flowing between nations. Novel
Coronavirus Pneumonia (COVID19) is a derivative of The Katrina Virus which the U.S. created.

Quote attributed to President Abraham Lincoln: “America will never be destroyed from the outside. If
we falter and lose our freedoms, it will be because we destroyed ourselves.” No truer words have been
said. .

MAKE NO MISTAKE ABOUT IT IF WE DON’T WORK TOGETHER, THIS IS THE BEGINNING OF WORLD ©
WARS III, IV AND V. MANKIND WILL NOT SURVIVE. Worldwide life expectancies and birth rates are
rapidly decreasing. When the birth rate hits a minus three percent (-3%) that will be the end of Mankind.
Mathematically suicides will outnumber births in the near future. (I have added the Snowden, Manning
and Winter cases. All of us are ex-military who care more about this country then anyone in the .
executive, legislative or judicial branches and that includes all Admirals and Generals.) (Assange case
was added as well.)

> lhave decided to ask China for help in saving the United States from itself.

The U.S. purchases 20% of what China sells and that makes us their biggest customer. China has a
financial interest in the U.S. not committing suicide or self-destructing and that is exactly what we are
doing. It also gives them a political interest because if the U.S. fails then the world fails and then there
will be civil unrest in China — a civil war.

This is a two-way street. China’s economy is taking a massive hit and they need for the U.S. to not only
survive but to prosper. The world needs stability. We don’t need a war in China.

Statement of Fact: The 2020 Presidential Election is being tampered with and it is being tampered with
by us. Be honest, we are a Bi-Autocratic Nation. You are either a Democrat or Republican and those two
parties have absolute control. Americans have a choice of a true nutcase or a 36-year senator - 8-year
vice president that is responsible for the condition of the U.S. Both parties and candidates are sacrificing
our lives, all Americans, to get elected. Both parties are printing money to buy the election. By
inauguration day 2021 the U.S. will have an equivalent national debt of 35 trillion dollars based ona
reduced Gross National Product (GNP) and the ability to repay the debt.
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Our country was founded by terrorists and this is not what they envisioned. The U.S. Constitution was
not meant to be practical.

United States v. Boucher (1:18-cr-00004) District Court, W.D. Kentucky Judge Marianne O. Battani
Eastern District of Michigan

231 W. Lafayette Blvd., Room 252

Detroit, MI 48226

United States v. Flynn (1:17-cr-00232) District Court, District of Columbia Judge E. Sullivan
Federal Court

333 Constitution Ave. N.W.

Washington D.C. 20001

United States v. Stone (1:19-cr-00018) District Court, District of Columbia Judge A. Jackson
Federal Court
333 Constitution Ave. N.W.
Washington D.C. 20001

Edwards v. Peoples Republic of China (2:20-cv-01393) District Court, E.D. Louisiana
Hon N. V. Jolivette Brown .

500 Poydras Street

Courtroom C227

New Orleans, LA

State of Missouri v. Peoples Republic of China (1:20-cv-00099) District Court, E.D. Missouri
Judge Stephen Limbaugh

Federal Court

555 Independence Street

Cape Girardeau, MO 63703

Alters v. Peoples Republic of China (1:20-cv-21108) District Court, S.D. Florida Judge Ursula Ungaro
Federal Court

400 North Miami Avenue

Room 12-4

Miami, Florida 33128

Bella Vista LLC v. The Peoples Republic of China (2:20-cv-00574) District Court, D. Nevada
Judge James C. Mahan

Federal Court

333 S. Las Vegas Blvd

Las Vegas, NV 89101

Buzz Photo v. Peoples Republic of China (3:20-cv-00656) District Court, N.D. Texas Judge. Ed Kinkeade
Federal Court
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1100 Commerce St.
Room 1625
Dallas, Texas 75242

Cardiff Prestige Property, Inc. v. Peoples Republic of China (8:20-cv-00683) District Court, C.D. California
Judge David O. Carter

Federal Court

411 West Fourth St.

Courtroom 9D

Santa Ana, CA, 92701

Bourque CPA s & Advisors v. The Peoples Republic of China (8:20-cv-00597) District Court, C.D. California
Judge R. Gary Klausner

Federal Court

255 East Temple Street

Los Angeles, CA 90012

Aharon v. Chinese Communist Party (9:20-cv-80604) District Court, $.D. Florida Judge Roy K. Altman
Federal Court

299 East Broward Blvd.

Fort Lauderdale, Fl. 33301

Smith v. Chinese Communist Party (2:20-cv-01958) District Court, E.D. Pennsylvania Judge Anita B. Brody
Federal Court

601 Market Street

Philadelphia, PA 19106

United States v. FLYNN (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
Debevoise & Plimpton LLP

919 Third Avenue

New York, New York 10022

United States v. FLYNN (1:17-cr-00232) District Court, District of Columbia Judge John Gleeson
U. S. District Court D.C.

333 Constitution Ave. N.W.

Washington D.C. 20001

United States v. Manning (1:19-dm-00012) District Court, E.D. Virginia Judge Anthony John Trenga
Albert V. Bryan U.S. Courthouse

401 Courthouse Square

Alexandria, VA 22314

United States v. Snowden (1:19-cv-01197) District Court, E.D. Virginia Judge Liam O'Grady
Albert V. Bryan U.S. Courthouse :
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401 Courthouse Square
Alexandria, VA 22314

United States v. Snowden (1:13-cr-265)) District Court, E.D. Virginia Senior Judge Claude M. Hilton
Albert V. Bryan U.S. Courthouse

401 Courthouse Square

Alexandria, VA 22314

United-States v. Winner (1:17-cr-00034) District Court, $.D. Georgia Judge James Randal Hall
Federal Court

600 James Brown Blvd.

Augusta, GA 30901

United States v. Assange (1:18-cr-00111) District Court, E.D. Virginia Senior Judge Claude M. Hilton
Albert V. Bryan U.S. Courthouse

401 Courthouse Square

Alexandria, VA 22314

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c/o President Bai Chunli

52 Sanlihe Rd.

Xicheng District

100864 Beijing

P.R. China

Chinese Center for Disease Control and -Prevention
c/o Director Goerge F. Gao
155 Changbai Road - Changping District - 102206 Beijing - P.R. China

Ministry of Civil Affairs of the People’s Republic of China
c/o Minister Li Jiheng
147 Beiheyan Dajie - Dong Cheng District - 100721 Beijing - P.R. China

Communist Party of China
c/o Xi Jinpnig, General Secretary of the Communist Party of China
174 Chang'an Avenue - Xicheng District - 1000017 Beijing - P.R. China

Ministry of Emergency Management of the People’s Republic of China
c/o Minister Wang Yupu
No. 70, Guang'anmen South Street - Xicheng District - 100054 Beijing - P.R. China

Health Commission of the People’s Republic of China
c/o Minister Ma Xiaowei
No 1 Xizhimen Outer South Road - Xicheng District - 100044 Beijing - P.R. China
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People’s Government of Hubei province
c/o Governor Wang Xiaodong
No.7 Hongshan Rd. - Wuchang, Wuhan - 430071 Hubei - P.R. China

People’s Republic of China
c/o Li Keqiang, Premier of the State Council of the People’s Republic of China
2 Fuyou Street - Xicheng District - 100017 Beijing - P.R. China

Wuhan Institute of Virology
c/o Director General Yanyi Wang
No. 44 Xiao Hong Shan — Wuhan - 430071 Hubei - P.R. China

People’s Government of the City of Wuhan
c/o Mayor Zhou Xianwang
No. 188 YanJiang Avenue - Hankou, Wuhan - 430014 Hubei - P. R. China

Central Intelligence Agency Office of Inspector General Clerk Scott Atchue

Office of Public Affairs Central Intelligence Agency DC Appeal Court

Washington, D.C. 20505 Washington, D.C. 20505 333 Constitution Ave. NW
Washington, DC 20001

Central Intelligence Agency Clerk Mark Langer

Privacy and Civil Liberties DC Appeal Court Justice Sri Srinivasan

Officer 333 Constitution Ave. NW DC Appeal Court

Washington, D.C. 20505 Washington, DC 20001 333 Constitution Ave. NW

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1 iLand first-class mail.

 

David Andrew Christenson
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David Andrew Christenson

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Judge Roy K. Altman

Federal Court

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